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        3
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        6
        7   Attorney for Plaintiff-Intervenor, EL CAMINO ATHLETIC BOOSTERS CLUB, a California
            non-profit corporation
        8
                                       UNITED STATES DISTRICT COURT
        9
                                      EASTERN DISTRICT OF CALIFORNIA
       10
       11   VIDEO GAMING TECHNOLOGIES, INC.,                   )   Case No. 2:08-CV-01241 JAM EFB
            dba, VGT, Inc., a Tennessee Corporation;           )
       12
            UNITED CEREBRAL PALSY OF GREATER                   )   AMENDED STIPULATION AND
       13   SACRAMENTO, a California Non-Profit                )   ORDER EXTENDING TIME UNDER
            Corporation; WIND Youth Services, a                )   SCHEDULING ORDER
       14   California Non-Profit Corporation; ROBERT          )
            FOSS, an individual; JOAN SEBASTIANI, an           )
       15   individual,                                        )
       16                                                      )
                                 Plaintiffs,                   )
       17                                                      )
            V.                                                 )
       18                                                      )
            BUREAU OF GAMBLING CONTROL, a law                  )
       19   enforcement division of the California             )
       20   Department of Justice; MATHEW J.                   )
            CAMPOY, in his official capacity as the            )
       21   Acting Chief of the Bureau of Gambling             )
            Control,                                           )
       22                                                      )
                            Defendants,                        )
       23
            ____________________________________               )
       24
       25          Due to the appeal that is now pending before the 9th Circuit Court of Appeals
       26   in the matter of Video Gaming Technologies, Inc. v. Bureau of Gambling Control, et
       27   al., USCA Case No. 09-16092, and because the appeal has the potential of being
       28   case dispositive for the Plaintiffs/Intervenors, the parties to this action hereby
                                                          -1-
                 AMENDED STIPULATION AND ORDER EXTENDING TIME UNDER SCHEDULING
                                                       ORDER
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        1   stipulate to extending certain deadlines and dates under this Court’s Scheduling
        2   Order entered on or about October 7, 2008, as follows:
        3      •   Last day to complete discovery - January 22, 2010;
        4      •   Last day for filing of dispositive motions - March 10, 2010;
        5      •   Last day for hearing of dispositive motions - April 7, 2010 (to be heard at 9:00
                   a.m.);
        6
               •   Joint Pretrial Statement due May 14, 2010;
        7
        8      •   Pre-Trial Conference - May 21, 2010 @ 3:00 p.m.; and

        9      •   Trial Date - August 23, 2010 @ 9:00 a.m.

       10
       11          IT IS HEREBY SO AGREED.

       12   Dated: August 28, 2009                    LAW OFFICES OF K. GREG PETERSON

       13
                                                      By: /s/ K. Greg Peterson
       14                                                     K. Greg Peterson, Esq., attorney for
       15                                             Plaintiff-Intervenor, EL CAMINO ATHLECTIC
                                                      BOOSTERS CLUB
       16
       17   Dated: August 28, 2009                    ATTORNEY GENERAL OF CALIFORNIA
       18
       19                                             By: /s/ William L. Williams, Jr.____
                                                              William L. Williams, Jr., Esq., attorney for
       20                                             Defendants, BUREAU OF GAMBLING
                                                      CONTROL and MATHEW J. CAMPOY
       21
       22   Dated: August 28, 2009                    COUNTY OF SACRAMENTO
       23
       24                                             By: /s/ John Reed, Esq.
                                                              John Reed, Esq., attorney for Defendant,
       25                                             JOHN McGUINESS
       26
       27
       28
                                                          -2-
                 AMENDED STIPULATION AND ORDER EXTENDING TIME UNDER SCHEDULING
                                                       ORDER
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        1   Dated: August 28, 2009                    NOSSAMAN, LLP

        2
                                                      By: /s/ Sophie N. Froelich, Esq.
        3
                                                              Sophie N. Froelich, Esq., attorney for
        4                                             Plaintiffs, UNITED CEREBRAL PALSY OF
                                                      GREATER SACRAMENTO, WIND YOUTH
        5                                             SERVICES, ROBERT FOSS, JOAN
                                                      SEBASTIANI, and Plaintiffs/Intervenors,
        6                                             CAPITAL BINGO, INC., HAGGIN GRANT POST
        7                                             NO. 521, THE AMERICAN LEGION,
                                                      DEPARTMENT OF CALIFORNIA, CASA
        8                                             ROBLE HIGH SCHOOL RAMSEMEN, INC. and
                                                      MARY BROWN
        9
       10
                                                      ORDER
       11
                   Based upon the stipulation of the parties and for good cause shown, the
       12
            Court orders that the deadlines/dates under the Scheduling Order dated October 7,
       13
            2008, below are to be extended as follows:
       14
               •   Last day to complete discovery - January 22, 2010;
       15
               •   Last day for filing of dispositive motions - March 10, 2010;
       16
               •   Last day for hearing of dispositive motions - April 7, 2010 (to be heard at 9:00
       17
                   a.m.);
       18
               •   Joint Pretrial Statement due May 14, 2010;
       19
               •   Pre-Trial Conference - May 21, 2010 @ 3:00 p.m.; and
       20
               •   Trial Date - August 23, 2010 @ 9:00 a.m.
       21
       22
                   IT IS HEREBY SO ORDRED.
       23
       24
            Dated: August 31, 2009                           /s/ John A. Mendez___________
       25                                                    HON. JOHN A. MENDEZ
       26                                                    United State District Court Judge

       27
       28
                                                          -3-
                 AMENDED STIPULATION AND ORDER EXTENDING TIME UNDER SCHEDULING
                                                       ORDER
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